                     Case 3:22-cr-00161-FAB                Document 1        Filed 04/15/22          Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                     DistrictDistrict
                                                __________    of Puerto  Rico
                                                                      of __________

                   United States of America                        )
                              v.                                   )
    [1] Ramon Vicente CASTILLO-GUERRERO; [2]
                                                                   )      Case No. 0
     Marcos SORIANO-SANCHEZ; and [3] Nandy                         )
                  MATEO-GARCIA                                     )
                                                                   )
                                                                   )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     4/11/2022                  in the county of                   --           in the
         ----          District of         Puerto Rico         , the defendant(s) violated:

                Code Section                                                 Offense Description
46 U.S.C. 70502, 70503, 70506                  Beginning on a date unknown, but until and including April 11, 2022, on the
                                               high seas, elsewhere and within the jurisdiction of this Court, defendants did
                                               knowingly and intentionally combine, conspire, and agree with others known
                                               and unknown to commit an offense against the United States, to wit: to
                                               possess with intent to distribute more than 5 kilograms of cocaine, a
                                               Schedule II controlled substance, while on board a covered vessel.



         This criminal complaint
                              nt is bbased
                             in                       facts:
                                      aassed on these fac
See attached affidavit.
Reviewed by: AUSA D. Olinghouse
The United States requests detention as to all defendants.



         ✔ Continued on the attached sheet.
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                                                                                              Complainant’s ssignature

6XEVFULEHGDQG6ZRUQSXUVXDQWWR)5&3                                    Jonathan Quinones-Panet, DEA Special Agent
DWDPE\WHOHSKRQHWKLVWKGD\RI                                                  Printed name and title
$SULO
                                                                                                             Digitally signed by
                                                                                                             Hon. Bruce J. McGiverin
Date:       
                                                                                                 Judge’s signature

City and state:                      San Juan,Puerto Rico                     Hon. Bruce J. McGiverin U.S. Magistrate Judge
                                                                                               Printed name and title
